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                        IN UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

APOTEX, INC.                                         )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            ) Civil Action No. 15-CV-03695
                                                     ) Hon. Sharon Johnson Coleman
DAIICHI SANKYO, INC.,                                )
                                                     )
       and                                           )
                                                     )
DAIICHI SANKYO CO., LTD.                             )
                                                     )
                      Defendants.                    )


                    APOTEX MOTION FOR SUMMARY JUDGMENT

       Declaratory Judgment Plaintiff Apotex, Inc. respectfully moves for summary judgment

pursuant to Rule 56 of the Federal Rules of Civil Procedure.

       Apotex seeks summary judgment that U.S. Patent No. 6,878,703 is not, will not, and

cannot be infringed by the filing of Apotex’s Abbreviated New Drug Application (“ANDA”) No.

204261, or by the manufacture, marketing, use, offer for sale, sale or importation of products that

are the subject of Apotex’s ANDA No. 204261 because all of the claims of U.S. Patent No.

6,878,703 have been disclaimed.

       Apotex’s Statement of Material Facts as to Which it Contends There is No Genuine

Dispute (and Exhibits A-B), its Memorandum in support of this motion, and a proposed Order

accompany this motion.




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                                      Respectfully submitted,

                                      HAHN LOESER & PARKS LLP



Date: 15 September 2015               By:    /s/ Sherry L. Rollo_________________
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                                             APOTEX INC.




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